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     Pamela Barrett and Raymond M. Cossey, Petitioners  v.  Division of Water Resources, State of Colorado; Office of the State Engineer; Kevin Rein, P.E., as State Engineer, State of Colorado; Harold Priestley; Drue Priestley; and HDP Revocable Trust. Respondents No. 24SC250Supreme Court of Colorado, En BancOctober 21, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA243
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    